
709 S.E.2d 926 (2011)
STATE
v.
Paul Brantley LEWIS.
No. 386PA10-1.
Supreme Court of North Carolina.
June 15, 2011.
Joan M. Cunningham, Assistant Attorney General, for State of North Carolina.
Reita Pendry, for Lewis, Paul Brantley.
Staples Hughes, Appellate Defender, for Lewis, Paul Brantley.
Leonard G. Green, Assistant Attorney General, for State of North Carolina.
Robert C. Montgomery, Special Deputy Attorney General, for State of North Carolina.
Jerry Wilson, District Attorney, for State of North Carolina.
The following order has been entered on the motion filed on the 28th of February 2011 by Defendant for Substitution of Counsel:
"Motion Allowed by order of the Court in conference, this the 15th of June 2011."
JACKSON, J. recused.
